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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF VIRGINIA
                                 LYNCHBURG DIVISION


   Crown Packaging Technology, Inc. and
   CarnaudMetalbox Engineering Ltd.,
                                          6:18-cv-00070-NKM-RSB
                 Plaintiffs,
                                          U.S.D.J. Norman K. Moon
          v.
                                          U.S.M.J. Robert S. Ballou
   Belvac Production Machinery, Inc.,

                 Defendant.




                        PROPOSED INTEGRATED PRETRIAL ORDER




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          Pursuant to the Court’s Ninth Amended Scheduling Order (Dkt. 230) and Pretrial Order

   (Dkt. 17 ¶25), Plaintiffs Crown Packaging Technology, Inc. (“Crown”) and CarnaudMetalbox

   Engineering Ltd. (“CMB”) and Defendant Belvac Production Machinery (“Belvac”) (collectively

   the “Parties”) respectfully submit this Proposed Integrated Pretrial Order. Pursuant to Rule

   26(a)(3)(A)(i)-(ii), Plaintiffs and Belvac submit their witness lists in Exhibit A and Exhibit B,

   respectively. The Parties agreed to exchange designations of deposition transcripts at a later

   date, and reserve their right to do so for witnesses so identified on their respective witness lists.

   See Section VII, ¶ 5. Pursuant to Rule 26(a)(3)(A)(iii), Plaintiffs and Belvac submit their joint

   exhibit list in Exhibit C, and their individual exhibit lists in Exhibits D and E, respectively.

     I.   CONTESTED ISSUES OF LAW THAT REQUIRE A RULING BEFORE TRIAL

          The parties submit that the contested issues requiring a ruling before trial are Plaintiffs’

   motions in limine nos. 1 and 2 (Dkt. 228) and Belvac’s motions in limine nos. 1-7 (Dkt. 233-237,

   241-242). The oppositions of certain motions in limine may argue that one or more issues

   involved need not be decided until during the trial.

    II.   ESSENTIAL ELEMENTS TO ESTABLISH MERITORIOUS CLAIMS AND
          DAMAGES OR OTHER RELIEF SOUGHT

          A.      Plaintiffs’ Submission

          First, Plaintiffs allege that Belvac has infringed claims 1, 7, and 8 of U.S. Patent No.

   9,308,570 (the “’570 Patent”), claims 20, 22, 24, and 26 of U.S. Patent No. 9,968,982 (the “’982

   Patent”), and claims 1, 2, and 7 of U.S. Patent No. 10,751,784 (the “’784 Patent”) (collectively,

   the “Asserted Claims”) under 35 U.S.C. § 271(a)-(c) & (f). Plaintiffs have the burden of proving

   infringement by a preponderance of the evidence.

          Second, CMB seeks damages for the infringement of the Asserted Claims under 35

   U.S.C. § 284. CMB seeks its profits lost as a result of Belvac’s infringement, “but in no event



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   less than a reasonable royalty for the use made of the invention by the infringer.” Id. CMB must

   prove the amount of damages by a preponderance of the evidence.

          Third, Plaintiffs allege that Belvac willfully infringed the Asserted Claims, which

   requires that they prove by a preponderance of the evidence that Belvac’s infringement was

   intentional. A finding of willful infringement by the jury is typically considered a prerequisite

   for the Court to exercise its discretion to enhance damages under 35 U.S.C. § 284.

          B.      Belvac’s Submission

          Defendant does not infringe any of the Asserted claims. Plaintiffs bear the burden to

   prove infringement by a preponderance of the evidence.

          Defendant also alleges that all of the Asserted Claims are invalid under 35 U.S.C.

   §§ 103(a) and 112. Defendant bears the burden to prove invalidity by clear and convincing

   evidence.

          Defendant asserts that Plaintiffs are not entitled to any damages. Plaintiffs bear the

   burden to prove damages by a preponderance of the evidence.

   III.   ESSENTIAL ELEMENTS TO ESTABLISH MERITORIOUS DEFENSES

          A.      Belvac’s Submission

           Defendant does not infringe any of the Asserted Claims. Plaintiffs bear the burden to

   prove infringement by a preponderance of the evidence.

          Defendant also alleges that all of the Asserted Claims are invalid under 35 U.S.C.

   §§ 103(a) and 112. Defendant bears the burden to prove invalidity by clear and convincing

   evidence.

          Defendant asserts that Plaintiffs are not entitled to any damages. Plaintiffs bear the

   burden to prove damages by a preponderance of the evidence.




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          B.      Plaintiffs’ Submission

          Belvac infringes the Asserted Claims. See Section II.A.

          No claim challenged by Belvac is invalid under 35 U.S.C. §§ 103(a) and 112.

          Belvac is liable for damages. See Section II.A.

   IV.    MATERIAL FACTS AND THEORIES OF LIABILITY OR DEFENSE

          A.      Plaintiffs’ Submission

          Crown is the owner, by assignment registered at the United State Patent and Trademark

   Office (“USPTO”), of the Asserted Patents, and a wholly owned subsidiary of Crown Holdings,

   Inc.

          CMB is a United-Kingdom based, wholly owned subsidiary of Crown Holdings, Inc. and

   the exclusive licensee of the Asserted Patents having the right to sue for and the sole right to

   collect damages for infringement of those patents.

          For many years, CMB and Belvac have been competitors in the field of making and

   selling certain can making machinery, including necking machines. The necking machines

   originally made and sold by CMB were known as “spin-necking machines.” The necking

   machines made and sold by Belvac were known as “die-necking machines.”

          Starting in 2004, CMB began developing the CMB3400, an aluminum beverage can die-

   necking machine that was more advanced than any of Belvac’s machines. CMB launched the

   CMB3400 in April 2007, at the Cannex trade show in Las Vegas, Nevada. Within one year,

   Crown and CMB filed patent applications covering the technological improvement inventions

   exemplified by the CMB3400. These patent applications led to the USPTO issuing the Asserted

   Patents. The CMB3400 is covered by the Asserted Claims and complied with the marking

   requirements of 35 U.S.C. § 287 at all relevant times for the CMB3400 machines sold in the U.S.




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          The CMB3400 was commercially successful. Prior to the launch of the CMB3400,

   Belvac held the vast majority of the market share of die-necking machine sales. Within a few

   years, the CMB3400 captured a significant share of the market.

           Immediately after the launch of the CMB3400, Belvac began development of a die-

   necking machine designed to compete with the CMB3400, which later became known as The

   Belvac Necker (“TBN”). Belvac copied several key, patented improvements from the CMB3400

   that are claimed in the Asserted Claims: a combination of a long stroke length and high speed

   enabled by a sawtooth-like staggering of the machine turrets. The CMB3400 was the first die-

   necking machine to ever combine the claimed features. The second was Belvac’s TBN.

   Belvac’s TBN infringes the Asserted Claims.

          Belvac’s infringement was willful. In 2007, under intensive competitive pressure from

   the CMB3400, Belvac knowingly and purposefully copied the key features of the CMB3400 for

   use in the TBN. In 2012, a Belvac customer became aware of Crown’s published patent

   application that later led to the Asserted Patents. That customer brought the published patent

   application to Belvac’s attention and expressed concern. Belvac studied that patent application

   in great detail and provided its analysis to the concerned customer. But Belvac made no changes

   to its design, and began selling the TBN in 2013. And after Plaintiffs brought the first of the

   Asserted Patents to Belvac’s attention in 2017, Belvac again made no changes to its design, and

   has continued selling the TBN to this day. Belvac never changed the design to avoid the

   Asserted Patents because Belvac knew it had to infringe the Asserted Patents in order to compete

   with the CMB3400.

          When a can manufacturer’s production line design requires the highest-speed necking

   machines, they have only two choices: The CMB3400 and Belvac’s TBN. When Belvac sells




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   the infringing TBN, it deprives CMB of a sale of the CMB3400. Therefore, Belvac is liable for

   CMB’s lost profits, or, at a minimum, a reasonable royalty.

          B.      Belvac’s Submission

            Belvac does not infringe the Asserted Claims. Belvac does not infringe claims 1, 7, and

   8 of the ‘570 Patent because the TBN does not have the required claim element that there be a

   stroke length between the pusher assembly and the die of at least 1.50 inches.

          Belvac does not infringe claims 1, 7, and 8 of the ‘570 Patent because the TBN does not

   have the required claim elements of a main gear mounted proximate to an end of the main turret

   shaft or a transfer gear mounted proximate to an end of the transfer shaft. Belvac does not

   infringe claims 20, 22, 24, and 26 of the ‘982 Patent because the TBN does not have the required

   claim element that the main gears be mounted on the main turret shafts.

          Belvac does not infringe claims 1, 7 and 8 of the ‘570 Patent, claims 20, 22, 24, and 26 of

   the ‘982 Patent, and claims 1, 2, and 7 of the ‘784 Patent because the TBN does not have the

   required claim element that each one of the dies have a throat portion with an inner surface that

   defines a cylinder.

          Each one of the asserted claims Asserted Claims is invalid. First, claims 1, 7, and 8 of

   the ‘570 Patent, and claims 20, 24, and 26 of the ‘982 Patent are invalid as obvious under 35

   U.S.C. § 103(a) over the combination of Belvac’s 595SK Necker and Belvac’s 795K Necker.

          Second claims 1, 7, and 8 of the ‘570 Patent, claims 20, 24, and 26 of the ‘982 Patent,

   and claims 1, 2, and 7 of the ’784 Patent are invalid as obvious under 35 U.S.C. § 103(a) based

   on the 595 necking machines (including the 595SK) as prior art under 35 U.S.C. § 102(f) in

   combination with the 795K Necker.




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            Third, claim 22 of the ‘982 Patent and claims 1, 2, and 7 of the ‘784 Patent are invalid as

   obvious under 35 U.S.C. § 103(a) based on the combination of Belvac’s 595SK Necker, Belvac’s

   795K Necker, and International Publication No. WO 97/37786 ( “Bowlin ‘786”).

            Finally, each of the Asserted Claims is invalid under 35 U.S.C. § 112, ¶ 1 because the

   patent specifications do not describe or support the full scope of the Asserted Claims.

            If Plaintiffs can prove infringement of valid claims, Plaintiffs are not entitled to lost

   profits because they cannot meet the requirements of Panduit Corp. v. Stahlin Bros. Fibre

   Works, Inc., 575 F.2d 1152 (6th Cir. 1978). Plaintiffs cannot prove that they had the

   manufacturing capability to exploit the demand, nor that there is an absence of acceptable

   noninfringing substitutes. Plaintiffs also cannot establish the reasonable royalty they seek.

    V.      CONTESTED ISSUES OF FACT

            The parties identify the following issues of fact:

            1.     The Parties contest whether Belvac infringed the Asserted Claims. See 35 U.S.C.

   ¶ 271.

            2.     The Parties contest whether the Asserted Patents are invalid under the defense of

   obviousness. See 35 U.S.C. ¶¶ 103 & 282.

            3.     The Parties contest whether the Asserted Patents are invalid under the defense of

   lack of written description. See 35 U.S.C. ¶ 112 & 282.

            4.     The Parties contest the amount of damages related to the alleged infringement of

   the Asserted Claims. See 35 U.S.C. ¶ 284.

            5.     The Parties contest whether Belvac willfully infringed the Asserted Claims.

   VI.      CONTESTED ISSUES OF LAW NOT REQUIRING A RULING BEFORE TRIAL

            The parties identify the following issues of law not requiring a ruling before trial:




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           1.      The Parties will be submitting proposed jury instructions and verdict forms on

   June 21, 2022 per the Court’s Ninth Amended Scheduling Order (Dkt. 230).

           2.      The Parties contest the establishment of an equitable remedy, in the form of a

   permanent injunction and/or an ongoing royalty. 35 U.S.C. § 283.

           3.      The Parties contest the assessment of costs, prejudgment interest, and post-

   judgment interest. 35 U.S.C. § 284.

           4.      The Parties contest enhancement of damages under 35 U.S.C. § 284.

           5.      The Parties contest whether this case is exceptional under 35 U.S.C. § 285 and/or

   § 273(f).

           6.      The Parties contest awarding of attorney fees and costs under 35 U.S.C. § 285.

  VII.     STIPULATIONS

           The Parties stipulate as follows:

           1.      The Parties stipulate that they will not refer to claims or defenses raised, but no

   longer at issue, in the case. This includes Plaintiffs’ allegations with respect to the ʼ425 Patent

   (Dkt. 225); Belvac’s defenses with respect to the ʼ425 Patent; Belvac’s IPR petition with respect

   to the ʼ425 Patent; Belvac’s allegations with respect to the ʼ445 Patent (Dkt. 103); CMB’s

   defenses with respect to the ʼ445 Patent; any claims of the Asserted Patents that Plaintiffs do not

   assert at trial (e.g., patent claims withdrawn by Plaintiffs); and any defenses advanced by Belvac

   no longer at issue for trial (e.g., defenses dismissed in Dkt. 213 or defenses withdrawn by

   Belvac).

           2.      The Parties stipulate that they will not introduce evidence, testimony, argument,

   or suggestion of any injunctive relief that is at issue in this case.




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          3.       The Parties stipulate to the authenticity of all documents and things on the Joint

   Exhibit List (Ex. C), Plaintiffs’ Exhibit List (Ex. D), and Belvac’s Exhibit List (Ex. E) that were

   produced by the Parties during discovery in this case.

          4.       The Parties stipulate that expert witnesses will testify consistent with their expert

   reports as provided by Fed. R. Civ. P. 26.

          5.       The Parties stipulate to exchange designations of depositions transcripts at a later

   time, and for purposes of this Integrated Pretrial Order designate the entirety of the transcripts for

   witnesses to be called by depositions as set forth in the Parties respective witness lists. Exs. A &

   B.

          6.       Crown is the owner, by assignment registered at the USPTO, of the Asserted

   Patents.

          7.       CMB became the exclusive licensee of the Asserted Patents on June 5, 2018.

  VIII.   VIOR DIRE QUESTIONS

          A.       Plaintiffs’ Submission

          Plaintiffs respectively proposes the voir dire questions set forth in Exhibit F for the

   prospective jurors in accordance with Fed. R. Civ. P. 47(a).

          B.       Belvac’s Submission

          Defendant respectfully proposes the voir dire questions set forth in Exhibit G in

   accordance with Fed. R. Civ. P. 47(a).




   June 10, 2022

   Counsel:


   /s/ Glenn W. Pulley_______________



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                                  CERTIFICATE OF SERVICE

          I hereby certify that a true and correct copy of the foregoing has been forwarded to all

   counsel of record on 10th day of June, 2022, via CM/ECF.




                                                      /s/ Glenn W. Pulley
                                                      Glenn W. Pulley
